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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                       Plaintiffs,
                                                       Case No. 1:25-cv-00596-ELH
                v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                       Defendants.



                     REPLY IN SUPPORT OF MOTION FOR ENTRY OF
                                PROTECTIVE ORDER

       Defendants file this reply in support of their motion for a protective order, ECF No. 84. As

described in Defendants’ motion, there is good cause to issue a protective order pursuant to Federal

Rule of Civil Procedure 26(c) to govern the disclosure, use, and handling of certain information in

the administrative record and items produced and received in discovery, if discovery is authorized

by the Court.

       Defendants acknowledge that, in the extremely compressed time schedule to produce the

Administrative Record, Defendants designated some material confidential that is not, in fact,

confidential under the terms of Defendants’ proposed protective order. Defendants are currently

working to remove those designations and to provide an updated production to Plaintiffs—a

process contemplated by Defendants’ proposed protective order, which allows for a Designating

Party to remove confidentiality designations. See ECF No. 69 ¶ 27. Plaintiffs are in no way

prejudiced by the current designations, however, as they have the full administrative record—
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which contains only limited redactions of privileged information and some PII—already in their

possession.   Defendants’ proposed protective order would merely require Plaintiffs to file

designated information under seal and limit Plaintiffs from sharing such information with others.

       With that said, Plaintiffs and the Court now have the full Administrative Record. And

Defendants respectfully submit that there should be no question that the Administrative Record

contains at least some information that should not be made public, and therefore that a protective

order is appropriate. This includes internal SSA policies and manuals containing sensitive

information and measures SSA uses to safeguard information and systems, which if publicly

released may used by bad actors to harm the agency, its information systems, and the public (whose

information SSA maintains). See, e.g., AFSCME Case 000000111–15, AFSCME Case 000291–

367, AFSCME Case 000291–367, AFSCME Case 000524–526. The polices and manuals in the

Administrative Record are non-public documents, and, to the extent Plaintiffs intend to use

information contained in them in support of their motion for preliminary injunction, it is

appropriate and not overly burdensome for Plaintiffs to maintain their confidentiality through

filing under seal. Further, although Plaintiffs object to Defendants’ proposed protective order

because it does not allow for the sharing of confidential information with experts (among other

reasons), see Pls.’ Opp’n at 3, Defendants have no objection to extending the scope of paragraph

35 to include experts Plaintiffs retain if those experts agree to be bound by the protective order.

       Also contained in the Administrative Record is a significant amount of PII, including

employee email addresses, physical addresses, and phone numbers. See, e.g., AFSCME Case

000027–29, 000040, 000610. That information is not relevant to any claim or defense in this

litigation and is information protected under Federal laws, such as the Privacy Act of 1974 (5

U.S.C. § 552a) and the Freedom of Information Act (5 U.S.C. § 552) from public disclosure. If



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permitted by the Court, Defendants are willing to provide redacted versions of pages in the

Administrative Record with that information redacted, but Plaintiffs should be restricted from

sharing the current unredacted information publicly. Defendants conferred with Plaintiffs on this

topic, and Plaintiffs do not object to the redaction of email addresses (provided domain names

remain unredacted), physical addresses, and phone numbers.

       Defendants also submit that it is appropriate and necessary to continue to protect the

identities of DOGE Team members, because employees associated with DOGE have been subject

to harassment and physical threats. If permitted by the Court, Defendants are willing to provide

redacted versions of documents bearing their names, but would ask to be permitted to continue to

use monikers (e.g., Employee 1, Employee 2) to continue to protect their identities.

       Finally, as to the concerns the Court identified in its April 2, 2025 letter to counsel

regarding the interplay between paragraph 14 and 36, Defendants consent to the removal of the

last sentence of paragraph 36. Regarding paragraph 35, Defendants are willing to consent to limit

the disclosure of confidential information obtained from Plaintiffs—which, as a practical matter is

likely to be a null set—to only SSA employees in the agency’s Office of General Counsel. And

Defendants do not object to the sharing of confidential information, subject to the terms of a

protective order, to Plaintiffs’ counsel and employees of the named Plaintiffs. But it would render

the protective order a nullity if Plaintiffs could share confidential information with any of their

millions of members.



Dated: April 3, 2025                         Respectfully submitted,

                                             YAAKOV M. ROTH
                                             Acting Assistant Attorney General
                                             Civil Division



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                             ELIZABETH J. SHAPIRO
                             Deputy Branch Director
                             Civil Division, Federal Programs Branch

                              /s/ Bradley P. Humphreys
                             BRADLEY P. HUMPHREYS
                             Senior Trial Counsel
                             MARIANNE F. KIES
                             SAMUEL HOLT
                             BENJAMIN S. KURLAND
                             SIMON G. JEROME
                             Trial Attorneys
                             Civil Division, Federal Programs Branch
                             United States Department of Justice
                             1100 L Street NW
                             Washington, DC 20005
                             Telephone: (202) 305-0878
                             Bradley.Humphreys@usdoj.gov

                             Kelly O. Hayes
                             Interim United States Attorney

                             MICHAEL J. WILSON
                             USDC Md Bar No. 18970
                             Assistant United States Attorney
                             36 S. Charles St., 4th Floor
                             Baltimore, Maryland 21201
                             Tel: (410) 209-4941
                             Fax: (410) 962-2310
                             Michael.Wilson4@usdoj.gov

                             Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       I certify that on April 3, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.

                                                    /s/ Bradley P. Humphreys
                                                    BRADLEY P. HUMPHREYS
